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                        UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                             Case Num ber:18-61984-ClV-M ORENO
  POLLY BASSETT,

                Plaintiff,
 VS.

 W AL-M ART STORES, EA ST,LP,

               Defendant.
                                                   /
             NOTICE OF AVAILABILITY OF M A GISTR ATE JUDG E SELTZER TO
                    EXERCISE JURISDICTION AND APPEAL OPTION

        In accordance with the provisions ofTitle 28, U.S.
                                                         C.j636(c),thepartiesarenotifiedthat
 United States M agistrate Judge Ban'y S. Seltzerisavailableto exercisetheCourt'sjurisdiction

 andto conductanyorallproceedingsinthiscaseincludingajury ornon-jurytrialandtheentry
 ofafinaljudgment. MagistrateJudgeSeltzermay only exercisejurisdiction, however,if al1
 partiesvoluntarily consent.

        The parties m ay,withoutadverse substantive consequences, w ithhold consent,but this

 willpreventMagistrate Judge Seltzer from exercising the Court'sjurisdiction If any party
                                                                                 .



withholds consent,the identity of the parties consenting or withholding consentwill not be

communicated to M agistrate Judge Seltzerorto JudgeM oreno.

       A partymayappealajudgmentthatM agistrateJudgeSeltzerentersdirectlytotheUnited
StatesCourtofAppealsin the same mannerasaparty would appealany otherjudgmentofa
DistrictCourt. A copy ofthe form klconsentto Proceed Before a United StatesM agistrate''is

attached to thisO rder. Copies ofthe form are also available from the Clerk ofthe Court.

       D ON E A N D ORD ERED in Cham bersatM iam i, Florida,this          VofAJanuary 2019.
                                                                     e'




                                           F:D            .MOIkE O
                                           UN ITED STA TES D ISTRICT JU D GE
Case 0:18-cv-61984-FAM Document 28 Entered on FLSD Docket 01/14/2019 Page 2 of 3



 Copiesfurnished to:

 United StatesM agistrateJudgeBarry S. Seltzer

 CounselofRecord
Case 0:18-cv-61984-FAM Document 28 Entered on FLSD Docket 01/14/2019 Page 3 of 3



                        UN ITED STATES DISTRICT COU RT FOR THE
                            SOU TH ERN D ISTRICT O F FLORID A
                                         M iam iDivision

                             CaseNum ber:18-61984-ClV-M OREN O

  POLLY BA SSETT,

               Plaintiff,
  VS.

  W AL-M AR T STO RES,EA ST,LP,

               D efendant.


            CO N SEN T TO PR O C EED BEFO R E A UN ITED ST AT ES M A G ISTR AT E

        ln accordancewiththeprovisionsof28U.S.C.j636(c),theundersignedpartiestothe
 above-captioned civilm atterhereby voluntarily consentto have a U nited States M agistrate Judge
 conductany and allfurtherproceedingsin the case,includingthetrial,and orderthe entry ofa
 finaljudgment.




 NOTE:Return thisform totheClerk ofthe CourtONLY ifithasbeen executed by allpartiesto
 thecase.Do notsend acopy ofthisform to any DistrictJudgeorM agistrate Judge.
